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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )            8:05CR179
                                                )
       vs.                                      )              ORDER
                                                )
RUSSELL PAPROSKI,                               )
                                                )
                     Defendant.                 )


       This matter is before the court on the pro se motion of defendant Russell Paproski
(Paproski) for release (Filing No. 75). Paproski seeks release pending his sentence on
February 27, 2006. Paproski was found guilty on January 17, 2006, following his guilty plea
(Filing No. 74). Paproski was ordered detained following a detention hearing on June 30,
2005. The testimony of OPD Officer Mark Lang and exhibits introduced at the hearing
demonstrated that Paproski was deeply involved in drug trafficking. The evidence further
demonstrated that Paproski had a serious drug abuse problem. Paproski now seeks time
to get his affairs in order before he commences serving an expected sentence of
imprisonment. There has been no change in the evidence to support that Paproski is less
a danger to the community or less a flight risk than at the time of the detention hearing.
Accordingly, Paproski’s motion for release (Filing No. 75) is denied.
       IT IS SO ORDERED.
       DATED this 24th day of January, 2006.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
